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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION


 LAWRENCE MERIWETHER,

                Plaintiff,                         Case No.1:20-cv-01003-LY
 v.

 HUNTER WARFIELD, INC.,

                Defendant.

 TERRI ALEXANDER,

                Plaintiff,
                                                   Case No. 1:20-cv-01005
 v.

 HUNTER WARFIELD, INC.,

                Defendant.


                             PROPOSED SCHEDULING ORDER

       Pursuant to Rule 16, Federal Rules of Civil Procedure, the Court issues the following

scheduling order.

       1.      The parties shall file all amended or supplemental pleadings and shall join

additional parties on or before August 30, 2021.

       2.      All parties asserting claims for relief shall file and serve on all other parties their

designation of potential witnesses, testifying experts, and proposed exhibits, and shall serve on all

other parties, but not file, the materials required by Federal Rule of Civil Procedure 26(a)(2)(B)

on or before October 19, 2021. Parties resisting claims for relief shall file and serve on all other

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parties their designations of potential witnesses, testifying experts, and proposed exhibits, and

shall serve on all other parties, but not file, the materials required by Federal Rule of Civil

Procedure 26(a)(2)(B) on or before November 18, 2021. All designations of rebuttal experts shall

be filed and served on all other parties not later than 14 days of receipt of the report of the opposing

expert, and the materials required by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal

experts, to the extent not already served, shall be served, but not filed, on all other parties not later

than 14 days of receipt of the report of the opposing expert.

        3.      The parties asserting claims for relief shall submit a written offer of settlement to

opposing parties on or before and each opposing party shall respond, in writing, on or before

September 20, 2021. All offers of settlement are to be private, not filed, and the Court is not to be

advised of the same. The parties are further ORDERED to retain the written offers of settlement

and responses as the Court will use these in assessing attorney’s fees and court costs at the

conclusion of trial.

        4.      A report on alternative dispute resolution in compliance with Local Rule CV-88

shall be filed on or before October 9, 2021.

        5.      Any objection to the reliability of an expert’s proposed testimony under Federal

Rule of Evidence 702 shall be made by motion, specifically stating the basis for the objection and

identifying the objectionable testimony, not later than 14 days of receipt of the written report of

the expert’s proposed testimony or not later than 14 days of the expert’s deposition, if a deposition

is taken, whichever is later. The failure to strictly comply with this paragraph will be deemed

a waiver of any objection that could have been made pursuant to Federal Rule of Evidence

702.
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       6.        The parties shall complete discovery on or before December 28, 2021.

Counsel may, by agreement, continue discovery beyond the deadline, but there will be no

intervention by the Court except in extraordinary circumstances, and no trial setting will be vacated

because of information obtained in post-deadline discovery.

       7.        All dispositive motions shall be filed and served on all other parties on or before

January 25, 2022 and shall be limited to 20 pages. Responses shall be filed and served on all other

parties not later than 14 days after the service of the motion and shall be limited to 20 pages. Any

replies shall be filed and served on all other parties not later than 14 days after the service of the

response and shall be limited to 10 pages, but the Court need not wait for the reply before ruling

on the motion.

The parties shall not complete the following paragraph 8. It will be completed by the Court

at the initial pretrial conference to be scheduled by the Court.

       8.        This case is set for final pretrial conference, in chambers, on the    day of

       , 20      , at   and      trial in the month of 20       . The final pretrial conference shall be

attended by at least one of the attorneys who will conduct the trial for each of the parties and by

any unrepresented parties. The parties should consult Local Rule CV-16(e) regarding matters to

be filed in advance of the final pretrial conference.

SIGNED this day of , 20         .



                                                LEE YEAKEL
                                                UNITED STATES DISTRICT JUDGE

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Dated: July 15, 2021                     Respectfully submitted,


 LAWRENCE MERIWETHER and                 HUNTER WARFIELD, INC.
 TERRI ALEXANDER
                                         /s/ Marissa Boulanger
 By: /s/ Mohammed O. Badwan              MALONE FROST MARTIN PLLC
 Mohammed O. Badwan, Esq.                EUGENE XERXES MARTIN, IV
 Counsel for Plaintiffs                  Texas State Bar No. 24078928
 Sulaiman Law Group, Ltd                 Email: xmartin@mamlaw.com
 2500 S Highland Ave, Suite 200          MARISSA BOULANGER
 Lombard, IL 60148                       State Bar No. 24100912
 (630) 575-8180                          Email: mboulanger@mamlaw.com
 mbadwan@sulaimanlaw.com




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